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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



BRENDA TRACEY, LLC, et al,

              Plaintiffs,
                                                           CASE NO. 1:23-cv-1102
v.
                                                           HON. ROBERT J. JONKER
AGUSTIN ALVARADO, et al.,

            Defendants.
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                                   ORDER TO RESPOND

       Plaintiffs have filed a motion for leave to file a second amended complaint. ECF No. 5.

Plaintiffs have also filed a motion to remand. ECF No. 7. Defendants shall file responses to the

motions not later than 4:00 PM on October 18, 2023.




Dated: October 17, 2023                     /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            UNITED STATES DISTRICT JUDGE
